        Case 3:12-cv-00257-JJB-RLB             Document 283        05/05/14 Page 1 of 22



                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

THE SHAW GROUP, INC., et al.                                            CIVIL ACTION

VERSUS                                                                  NO. 12-257-JJB-RLB

ZURICH AMERICAN INSURANCE
COMPANY, et al.


                                        RULING AND ORDER

        Before the court are several interrelated discovery motions filed by plaintiffs The Shaw

Group Inc. and Shaw Process Fabricators, Inc. (collectively, “Shaw”), defendant Zurich

American Insurance Company (“Zurich”), and the third party law firms Baker, Donelson,

Bearman, Caldwell & Berkowitz, P.C. (“Baker Donelson”); Griffith, Davison & Shurtleff, P.C.

(“Griffith”); and Oles, Morrison, Rinker & Baker, LLP (“Oles Morrison”). Because all of these

motions concern the discovery of information from Shaw’s former and current counsel, the court

will consider all nine motions together. 1 The court has reviewed and considered all motions,

supporting memoranda, oppositions, replies, and other documents submitted in support of the

positions of the foregoing parties. 2

I.      Background

        This is an insurance dispute. In the underlying action, REC Solar Grade Silicon, LLC

(“REC”) sued Shaw for damages regarding defective pipe spools sold by Shaw to REC for use in

1
  The nine motions considered in this Ruling includes three motions to compel subpoenas duces tecum
filed by Zurich (R. Docs. 242, 256, 262); three motions to quash subpoenas duces tecum filed by Baker
Donelson, Griffith, and Oles Morrison (R. Docs. 247, 265, 266); and three motions to quash deposition
subpoenas filed by Shaw (R. Docs. 249, 250, 251).
2
  As discussed below, three of the motions considered in this Ruling are motions to quash deposition
subpoenas issued by Zurich to five individual attorneys who provided counsel to Shaw in another matter.
(See R. Docs. 249, 250, 251). Although these individuals have been provided notice of Shaw’s motions
to quash the subpoenas issued to them, they have not submitted any briefing in addition to the briefing
submitted by Shaw.
        Case 3:12-cv-00257-JJB-RLB           Document 283        05/05/14 Page 2 of 22



a gas manufacturing plant. Shaw filed an action in the Eastern District of Washington in July of

2011 seeking a declaratory judgment providing that, among other things, Zurich American

Insurance Company (“Zurich”), Shaw’s primary insurer, breached its duty to defend Shaw in the

underlying litigation and did so in bad faith. In August of 2011, Shaw’s excess insurers, North

American Specialty Insurance Company (“NAS”) and Westchester Fire Insurance Company

(“Westchester”), filed a similar action in the Middle District of Louisiana seeking a declaration

that Shaw’s claims were excluded by their policies. In November of 2011, this Court ordered the

excess insurer’s suit to be transferred to the Eastern District of Washington. In April of 2012,

the Eastern District of Washington consolidated the actions and the dispute was transferred back

to this Court.

       According to the Second Amended Complaint, after Shaw tendered Zurich with the

complaint in the underlying action, Zurich responded that “there was no insurance coverage” for

the damages in the Underlying Litigation, but also provided that “it would accept and undertake

the defense of the Underlying Litigation under a full reservation of rights.” (R. Doc. 156,

“SAC,” ¶ 15). Shaw alleges that since undertaking its duty to defend, Zurich has “disputed the

extent to which it was obligated to pay for defense costs” and has “unreasonably breached its

duty to defend by failing to pay for the defense in a timely manner.” (SAC, ¶ 16). Shaw alleges

that Zurich “controlled the defense of Plaintiffs in the Underlying Litigation in the Eastern

District of Washington,” but breached its duty to exercise the degree of reasonable care

applicable to the defense, which proximately caused it harm. (SAC, ¶ 23). Shaw also alleges

that Zurich violated its “duties to engage in good faith settlement negotiations of the Underlying

Litigation by refusing indemnity to Plaintiffs herein prior to the July mediation between the




                                                 2
        Case 3:12-cv-00257-JJB-RLB              Document 283         05/05/14 Page 3 of 22



Plaintiffs and REC.” (SAC, ¶ 23). This court has ruled that Shaw’s extra-contractual claims

against Zurich shall be governed under Washington law. (R. Doc. 132 at 11).

        Shaw retained Baker Donelson, Griffith, and Oles Morrison during the course of the

underlying litigation. Zurich issued a subpoena duces tecum to each of these law firms seeking

the production of documents related to their defenses of Shaw in the underlying litigation. 3 Each

of the law firms objected to their respective subpoenas on several grounds, including attorney-

client privilege, the work product protection, insufficient time to respond, and undue burden.

Zurich filed a motion to compel compliance with the subpoenas in the respective courts of

compliance. 4 Upon consent of the law firms subject to the subpoenas, the U.S. District Courts

for the Eastern District of Louisiana, Northern District of Texas, and Western District of

Washington transferred the motions to compel to this court for adjudication. (See R. Docs. 242,

256, 264). Each of these motions to compel is opposed by the respective law firm. 5 In addition,

Shaw has filed motions to quash the respective subpoenas issued to Baker Donelson, Griffith,

and Oles Morrison. (R. Docs. 247, 265, 266). 6

        The document subpoenas issued by Zurich to Baker Donelson, Griffith, and Oles

Morrison all request that the following nine categories be produced:

        1.      Any and all correspondence/communications between you and Shaw regarding
                Shaw’s solicitation of your services, your retention, the fees you agreed upon, or
                file management/handling procedures regarding the REC suit.

3
  The subpoena issued to Baker Donelson seeks compliance in Grenta, Louisiana. (R. Doc. 242 at 27).
The subpoena issued to Griffith seeks compliance in Dallas, Texas. (R. Doc. 256 at 99). The subpoena
issued to Oles Morrison seeks compliance in Seattle, Washington. (R. Doc. 262 at 35).
4
  See Fed. R. Civ. P. 45(d)(2)(B)(i) (“At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an order compelling production or
inspection.”).
5
  Zurich’s motion to compel Baker Donelson (R. Doc. 242) is opposed (R. Doc. 246), and Zurich has filed
a reply. (R. Doc. 254). Zurich’s motion to compel Griffith (R. Doc. 256) is opposed. (R. Doc. 267).
Zurich’s motion to compel Oles Morrison (R. Doc. 262) is opposed. (R. Docs. 269, 270).
6
  Although Zurich has not filed a formal opposition to these motions to quash, they are all clearly opposed
in light of Zurich’s motions to compel.
                                                    3
       Case 3:12-cv-00257-JJB-RLB          Document 283       05/05/14 Page 4 of 22




       2.     Any and all correspondence/communications between you and Shaw regarding
              your assessment of the merits of REC’s claims against Shaw.

       3.     Any and all correspondence/communications between you and Shaw regarding
              your prosecution of Shaw’s Counterclaim against REC.

       4.     Any and all correspondence/communications between you and Shaw or you and
              opposing counsel regarding settlement negotiations or settlement of the REC suit
              in general.

       5.     Any and all documents/bills regarding the professional services you rendered to
              Shaw and arising out of the REC suit. This request includes any and all
              supporting documents for costs you may have advanced or services you may have
              retained on behalf of Shaw in the defense of the REC suit.

       6.     Any and all correspondence/communications between you and Zurich and/or any
              third party administrator regarding the handling, settlement, or defense of the
              REC suit.

       7.     Any and all agreements between you and Zurich and/or any third party
              administrator as to fees you charged arising out of the REC suit.

       8.     Any and all documents/correspondence/communications regarding Zurich’s
              evaluation of your bills, your response to Zurich’s evaluation, and Zurich’s
              response to your response.

       9.     Any and all documents which may substantiate or relate to a claim for bad faith or
              improper claims handling by Zurich in the REC suit.

(R. Doc. 242 at 25-26; R. Doc. 256 at 103-04; R. Doc. 262 at 39-40). In addition, the subpoena

issued to Baker Donelson requests that five additional categories of documents be produced:

       10.    Any and all invoices submitted reflecting your work on the REC claim.

       11.    Evidence of payment on all invoices for your work on the REC claim.

       12.    Copy of Zurich Guidelines regarding your work on the REC claim.

       13.    Timesheets indicating any work performed by any Baker Donaldson employee
              reflecting work on the REC claim.

       14.    Any document reflecting the total monthly hours billed by any Baker Donaldson
              employee who billed more than 50 hours on the REC claim.



                                               4
        Case 3:12-cv-00257-JJB-RLB              Document 283        05/05/14 Page 5 of 22



(R. Doc. 242 at 25-26). In contrast, the subpoenas issued to Griffith and Oles Morrison requests

only that one additional category of documents be produced:

        10.     Any and all documents/correspondence/communications regarding your refusal or
                failure to perform legal services for Shaw as a result of a failure or delay in the
                payment of your legal bills.

(R. Doc. 256 at 103-04; R. Doc. 262 at 39-40).

        Zurich also issued deposition subpoenas to five individual attorneys representing Shaw in

the underlying action: Jason Cagle (an attorney with Griffith); Anthony Jach (an attorney with

Griffith); Daniel Terrell (former in-house counsel with Shaw); Danny Shaw (an attorney with

Baker Donelson); and Robert Brown (former in-house counsel with Shaw). As with the

subpoenas issued to the three law firms, the deposition subpoenas issued to Cagle, Jach, Terrell,

Shaw, and Brown sought compliance within the geographical jurisdictions of other district

courts. 7 Shaw filed a motion to quash the deposition subpoenas in the respective courts of

compliance. Upon consent of the individuals subject to the subpoenas, the U.S. District Courts

for the Eastern District of Louisiana, Northern District of Texas, and Northern District of

Georgia transferred the motions to compel to this court for adjudication. (See R. Docs. 249, 250,

251). Zurich opposes all three motions to quash. (R. Doc. 255). Zurich does not limit the scope

of the five deposition subpoenas to specific topics of discussion.

        In support of its motions to compel, Zurich claims that Shaw cannot prove its bad faith

claims against Zurich without relying upon information otherwise subject to the attorney-client

privilege and work product doctrine. Zurich argues that Shaw has waived the attorney-client

privilege by putting the subject matter of that privilege at issue. Zurich also argues that it has a

substantial need to obtain any information protected under the work product doctrine.

7
  The subpoenas issued to Cagle, Jach, and Terrell seek compliance in Dallas, Texas. (R. Doc. 249 at 44).
The subpoena issued to Shaw seeks compliance in Gretna, Louisiana. (R. Doc. 250 at 42). The subpoena
issued to Brown seeks compliance in Atlanta, Georgina. (R. Doc. 251 at 44).
                                                   5
        Case 3:12-cv-00257-JJB-RLB             Document 283        05/05/14 Page 6 of 22



        In contrast, Shaw and the subpoenaed law firms argue that Shaw has not waived its

attorney-client privilege because it need not rely upon otherwise protected information to prove

its bad faith claim against Zurich. 8 Shaw and the subpoenaed law firms argue that Zurich has no

substantial need to obtain work product. The subpoenaed law firms raise additional arguments

for why non-compliance with the subpoena was proper, including Zurich’s failure to provide a

reasonable time to respond, vagueness and overbreadth, and undue burden and costs. As an

extension of their undue burden argument, the subpoenaed law firms argue that several

categories of documents requested by Zurich could either be obtained directly from Shaw or are

already in Zurich’s possession.

II.     Law & Analysis

        A.      Scope of Relevant Discovery

        Rule 26(b)(1) of the Federal Rule of Civil Procedure provides that “[p]arties may obtain

discovery regarding any non-privileged matter that is relevant to any party’s claim or defense.”

To be relevant, “information need not be admissible at trial if the discovery appears reasonably

calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P. 26(b)(1). The rules

governing discovery are accorded a broad and liberal treatment to achieve their purpose of

adequately informing litigants in civil trials. Hebert v. Lando, 441 U.S. 153, 176 (1979).

Nevertheless, discovery does have “ultimate and necessary boundaries.” Oppenheimer Fund, Inc.

v. Sanders, 437 U.S. 340, 351 (1978). Furthermore, it is well established that the scope of

discovery is within the sound discretion of the trial court. E.g., Quintero v. Klaveness Ship

Lines, 914 F.2d 717, 724 (5th Cir. 1990) (“the district court has wide discretion in determining

the scope and effect of discovery”).


8
 Shaw does not specifically argue in its motion to quash that documents sought by Zurich and in
possession of Baker Donelson contain work product. (See R. Docs. 247).
                                                   6
        Case 3:12-cv-00257-JJB-RLB            Document 283        05/05/14 Page 7 of 22



       Rule 45 governs the issuance of subpoenas, and provides that on a timely motion, the

court for the district where compliance is required must quash or modify a subpoena if it requires

disclosure of privileged or other protected matter, or otherwise subjects the subpoenaed person to

undue burden. Fed. R. Civ. P. 45(c)(3). Additionally, parties or attorneys who issue and serve

subpoenas “must take reasonable steps to avoid imposing an undue burden or expense on a

person subject to the subpoena.” Fed. R. Civ. P. 45(c)(1). Subpoenas issued for discovery

purposes, such as those at issue here, are also subject to the discovery limitations outlined in

Rule 26(b). See Hussey v. State Farm Lloyds Ins. Co., 216 F.R.D. 591, 596 (E.D. Tex. 2003); 9A

Wright & Miller, Federal Practice & Procedure 2d § 2459 (“Of course, the matter sought by the

party issuing the subpoena must be reasonably calculated to lead to admissible evidence as is

required by the last sentence of Rule 26(b)(1).”).

       Zurich has issued a total of three document subpoenas and five deposition subpoenas to

Shaw’s attorneys in the underlying litigation. Unlike the document subpoenas, which provide

various categories of documents Zurich seeks to have produced, the deposition subpoenas do not

delineate the scope of the deposition topics. Zurich argues that it is entitled to discovery

regarding Shaw’s attorneys because it “will be impossible for Shaw to successfully prove its

claim without referring to allegedly privileged communications between it and its defense

counsel.” (R. Doc. 242 at 7). In essence, Zurich is arguing that all attorney-client privileged

communications between Shaw and its attorneys in the underlying litigation is relevant to

Shaw’s claims in this litigation and, accordingly, Shaw has waived its privilege with regard to

any relevant information. In light of the open-ended deposition subpoenas and broad categories

of documents requested in the document subpoenas, the court will first identify the proper scope

of relevant information sought in light of the allegations in this lawsuit.



                                                  7
        Case 3:12-cv-00257-JJB-RLB            Document 283        05/05/14 Page 8 of 22



       Shaw claims that Zurich breached its duty to defend in bad faith, as well as its

corresponding duties to investigate and settle. Zurich claims that “most, if not all, of the

allegations against Zurich put at issue its representation by defense counsel.” (R. Doc. 242 at 7).

Zurich argues that “[b]y alleging bad faith arising out of (among other things) failure to

investigate, tardy legal invoice payments, and improper control of the defense, Shaw has placed

its defense file, defense strategy and communications between itself and defense counsel in the

REC suit ‘at issue.’” (R. Doc. 254 at 2). Zurich specifically identifies three paragraphs in

Zurich’s Second Amended Complaint in support of this position:

       16.     Since undertaking the defense of the The Shaw Group and Shaw Process
       Fabricators in the Underlying Litigation under a reservation of rights, Zurich disputed the
       extent to which it was obligated to pay for defense costs. Zurich unreasonably breached
       its duty to defend by failing to pay for the defense in a timely manner.

       17.     Having undertaken to defend the [REC suit] under a reservation of rights, Zurich
       was bound to comply with certain “enhanced obligations” of good faith . . . requiring that
       [it] “abstain from deception, and practice honesty and equity in all insurance matters” . . .
       Zurich violated these enhanced obligations of good faith by failing to recognize [Shaw]
       as [Baker’s] sole client, and instead, directing such counsel to be its “partners” . . .

       23.     Zurich controlled the defense of [Shaw] in the [REC suit]. Having done so,
       Zurich was obligated to exercise the degree of reasonable care applicable to the defense
       of actions pending in the Eastern District of Washington. Zurich breached that duty,
       proximately causing damage to Plaintiffs herein in an amount to be proved at trial.


(R. Doc. 255 at 4) (quoting SAC, ¶¶ 16, 17, 23). Shaw also stated in an interrogatory response

that as a result of Zurich’s alleged failure to timely pay defense counsel, Griffith “complained

about the late payments and threatened to withdraw as counsel in the Underlying Lawsuit.” (R.

Doc. 259-2 at 4). Shaw also claims that it was harmed by Zurich’s alleged failure to investigate

and settle the claims because it “could have settled the Underlying Lawsuit for a sum less than

$10 million between the period of the fall of 2009 through late spring of 2011 in response to a

demand made by [REC in the Underlying Lawsuit].” (R. Doc. 259-2 at 5).

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        Case 3:12-cv-00257-JJB-RLB             Document 283        05/05/14 Page 9 of 22



       Zurich claims that it “will be impossible for Shaw to successfully prove its claim without

referring to allegedly privileged communications between it and its defense counsel.” (R. Doc.

242 at 7). In contrast, Shaw states that it “does not intend to use any communications between

itself and [its attorneys] to prove its bad faith claims and has never indicated an intent to call any

[of its attorneys] as witnesses.” (R. Doc. 247-2 at 1; 265-1 at 1; 266-1 at 1). The court must,

therefore, turn to the substantive law regarding bad faith under Washington law to determine

whether any of the documents requested by Zurich are relevant to Shaw’s claims or Zurich’s

defenses.

       Under Washington law, the bad faith handling of an insurance claim is a tort, and is

accordingly “analyzed applying the same principles as any other tort: duty, breach of that duty,

and damages proximately caused by any breach of duty.” Mut. of Enumclaw Ins. Co. v. Dan

Paulson Constr. Co., 169 P.3d 1, 8 (Wash. 2007) (quoting Smith v. Safeco Ins. Co., 78 P.3d

1274, 1277 (Wash. 2003)). “[W]here an insurer acts in bad faith in handling a claim under a

reservation of rights, the insurer is estopped from denying coverage.” Safeco Ins. Co. v. Butler,

823 P.2d 499, 504–05 (Wash. 1992). An insurer who accepts its duty to defend under a

reservation of rights, “but then performs the duty in bad faith is no less liable than the insurer

who accepts but later rejects the duty.” Id. at 504. “[A]n insurer must make a good faith

investigation of the facts before denying coverage and may not deny coverage based on a

supposed defense which a reasonable investigation would have proved to be without merit.”

Indus. Indem. Co. v. Kallevig, 792 P.2d 520, 526 (Wash. 1990).

       “In order to establish bad faith, an insured is required to show the breach was

unreasonable, frivolous, or unfounded.” Kirk v. Mt. Airy Ins., 951 P.2d 1124, 1126 (Wash.

1998). “Although a showing of harm is an essential element of an action for bad faith handling



                                                  9
       Case 3:12-cv-00257-JJB-RLB            Document 283        05/05/14 Page 10 of 22



of an insurance claim, [the Washington Supreme Court has] imposed a rebuttable presumption of

harm once the insured meets the burden of establishing bad faith. Id. at 1127 (citing Butler, 823

P.2d 499, 504). “Without the rebuttable presumption of harm, the insurer could defend its

position under the following contract theory—even if there were a duty to defend, our bad faith

breach did not cause injury to the insured because ultimate liability was found to be outside the

scope of coverage.” Id. “Whether the insurer’s acts prejudiced the insured is . . . a question of

fact.” Butler, 823 P.2d at 506.

       Zurich’s document subpoenas seek information regarding the assessment of Shaw’s

defenses and counterclaims in the underlying action. Zurich’s duty to defend is premised on

whether it could deny coverage based upon a reasonable interpretation of the insurance policy,

not on whether Shaw’s attorneys provided an adequate defense.

       Whether Shaw was harmed by Zurich’s alleged bad faith acts or omissions, however, is

an altogether different factual issue. Zurich is entitled to discovery that is “reasonably calculated

to lead to the discovery of admissible evidence” regarding either Shaw’s claims or its own

defenses. See Fed. R. Civ. P. 26(b)(1). Accordingly, Zurich is entitled to discovery regarding

any alleged harms caused by its bad faith acts or omissions, regardless of whether such harms are

presumed, because it is entitled to rebut the presumption of harm as a defense. Butler, 823 P.2d

499, 506 (“[T]he insurer can rebut the presumption [of harm] by showing by a preponderance of

the evidence its acts did not harm or prejudice the insured.”); National Union Fire Ins. Co. v.

Greenwhich Ins. Co., No. C07-2065, 2009 WL 1794041, at *5 (W.D. Wash. June 22, 2009)

(insurer rebutted presumption of harm on summary judgment where any damages caused by the

insurer had already been awarded to the insurer’s assignee).




                                                 10
       Case 3:12-cv-00257-JJB-RLB              Document 283         05/05/14 Page 11 of 22



        Furthermore, some of the documents sought by Zurich are relevant to the issue of

recoverable damages. Assuming that Shaw can establish Zurich’s bad faith breach of its duty to

defend, the measure of damages under Washington law may include the reasonable settlement

amount paid by the insured to settle the underlying claim. See Bird v. Best Plumbing Grp., LLC,

260 P.3d 209, 211 (Wash. Ct. App. 2011) (“When a defendant whose liability insurer has acted

in bad faith proceeds to make his own settlement with an injured plaintiff, the amount of that

settlement may become the presumptive measure of damage in the bad faith lawsuit, but only if a

trial court determines that the settlement is reasonable and not the product of fraud or

collusion.”), aff’d, 287 P.3d 551 (2012). In this action, Shaw is seeking its entire settlement

amount with REC as the measure of damages, namely $20,750,000 in cash, and the value of its

withdrawn counterclaim of $3,804,520.50. (SAC, ¶ 42). Shaw is also claiming treble damages.

(SAC, ¶ 49). Shaw further claims that Zurich’s full payment of its $4,000,000 policy limits, as

well as its payment of certain defense work conducted by Baker Donelson, did not cure Zurich’s

breaches. (SAC, ¶ 35). This court has not yet determined whether the damages sought by

Shaw, assuming they are recoverable, are reasonable. 9 Accordingly, discovery sought by Zurich



9
  Prior to transfer of this action, Shaw moved the Eastern District of Washington for a reasonableness
hearing pursuant to RCW 4.22.060 to determine the reasonableness of its settlement with REC for the
purpose of establishing the presumptive damages recoverable against Zurich and NAS if they acted in bad
faith. (R. Doc. 41). Zurich, NAS, and Westchester opposed the reasonableness hearing. (R. Docs. 61,
64). On April 27, 2012, the Eastern District of Washington issued an order granting Shaw’s motion for a
reasonableness hearing pursuant to RCW 4.22.060 and granting NAS’s motion to transfer venue to the
Middle District of Louisiana. (R. Doc. 83). Although the Eastern District of Washington ruled that it
would hold a reasonableness hearing, it stated that it “makes no finding with respect to whether its
determination following the reasonableness hearing will be the presumptive measure of damages in the
insurance disputes.” (R. Doc. 83 at 9). The Eastern District of Washington also informed the parties that
the reasonableness hearing would be docketed in the underlying action between Shaw and REC, and
advised Zurich, Westchester, and NAS to file motions to intervene in the underlying action if they wished
to participate in the reasonableness hearing. (R. Doc. 83 at 10). Despite opposing Shaw’s motion for
reasonableness hearing in this action, Zurich did not intervene in the underlying action to participate in
the reasonableness hearing. NAS did intervene, but according to the Status Report submitted by the
parties, NAS did not contest the reasonableness of the settlement. (R. Doc. 144 at 4). The Eastern
                                                   11
       Case 3:12-cv-00257-JJB-RLB             Document 283        05/05/14 Page 12 of 22



regarding the reasonableness of the settlement amount between REC and Shaw is also relevant to

the issue of damages.

       In sum, the scope of relevant information sought by Zurich is limited to (1) information

regarding the resulting harm allegedly suffered by Shaw as a result of Zurich’s untimely

payments, failure to exercise reasonable care in controlling Shaw’s defense, and failure to

conduct good faith settlement negotiations; and (2) information regarding the reasonableness of

the measure of damages sought by Shaw. The court now turns to whether Zurich may obtain this

relevant information in spite of the attorney-client privilege and the work product doctrine.

       B.      Implied Waiver of the Attorney-Client Privilege

               1.       Choice-of-Law Analysis

       Rule 501 of the Federal Rules of Evidence provides that “in a civil case, state law

governs privilege regarding a claim or defense for which state law supplies the rule of decision.”

Fed. R. Evid. 501. Rule 501 is silent, however, regarding how the court must determine the

“state law” governing privileges.

       Lead commentators have discussed three approaches for interpreting Rule 501 when

faced with a horizontal choice of law issue: “(1) [a]ssume that the state “which supplies the rule

of decision” is the state which also supplies the privilege law; (2) apply the privilege rules of the

state in which the federal court sits; or (3) apply the conflict of law doctrine of the state in which

the federal court sits.” KL Grp. v. Case, Kay & Lynch, 829 F.2d 909, 918 (9th Cir. 1987) (citing

Charles Alan Wright & Kenneth W. Graham, Jr., Federal Practice and Procedure, § 5435, 865-69

(1980)). The Fifth Circuit has endorsed the third approach to Rule 501, which requires the court

to apply the choice-of-law rules of the forum state to determine the governing law for attorney-


District of Washington ruled that a reasonable settlement amount was $20,750,000.00. (R. Doc. 144 at
4).
                                                  12
        Case 3:12-cv-00257-JJB-RLB                Document 283          05/05/14 Page 13 of 22



client privilege. See Miller v. Transamerican Press, Inc., 621 F.2d 721, 724, opinion

supplemented on denial of reh’g, 628 F.2d 932 (5th Cir. 1980). 10 This approach is consistent

with the Erie doctrine, which requires federal courts sitting in diversity to apply the forum state’s

substantive law, including its choice-of-law rules. See Klaxon v. Stentor Electric Mfg. Co., 313

U.S. 487, 495-96 (1941).

        Where an action is transferred under 28 U.S.C. § 1404(a), however, the court must apply

the law of the “transferor” court to the action. Ferens v. John Deere Co., 494 U.S. 516, 528

(1990). Because this action was originally transferred from the Eastern District of Washington,

this court has already concluded that it will apply the choice-of-law rules of Washington. (R.

Doc. 199 at 5). 11 Washington “follows the rule of depecage, which may require the Court to

apply the law of one forum to one issue, while applying the law of a different forum to another

issue in the same case.” Milgard Mfg. v. Illinois Union Ins. Co., No. C10-5943, 2011 WL

3298912, at *3 (W.D. Wash. 2011). Accordingly, the court must apply a choice-of-law analysis

to the separate issue of the law governing attorney-client privilege.

        The parties present three potential jurisdictions with an interest in the communications at

issue: Washington, Louisiana, and Texas. Before conducting a choice-of-law analysis, the court



10
   Several decisions in the Fifth Circuit appear to endorse the first approach to Rule 501 in the absence of
any clear need to conduct a choice-of-law analysis. See, e.g., Dunn v. State Farm Fire & Cas. Co., 927
F.2d 869, 875 (5th Cir. 1991) (“Since [Mississippi] state law provides the rule of decision, Mississippi
law is determinative of the attorney client privilege.”). In fact, this court has applied the first approach in
resolving a motion to quash a deposition filed by Zurich where there was no clear choice of law issue.
(See R. Doc. 234 at 4, n. 3). Some courts have explicitly endorsed the first approach to Rule 501,
however, where the substantive law has already been determined through choice-of-law principles. See,
e.g., United States Sur. Co. v. Stevens Family Ltd. P’ship, No. 11 C 7480, 2014 WL 902893 (N.D. Ill.
Mar. 7, 2014) (“Once the court has, by applying appropriate choice of law principles, determined the
substantive law applicable to a claim based on state law, the privilege issues are determined by that same
state’s law.”).
11
   Several of the motions at issue in this Ruling were transferred from other district courts under Rule 45
of the Federal Rules of Civil Procedure. The holding in Ferens only applies to transfers under 28 U.S.C.
§ 1404. See Ferens, 494 U.S. at 528.
                                                      13
        Case 3:12-cv-00257-JJB-RLB               Document 283         05/05/14 Page 14 of 22



must first determine whether there is an actual conflict between Washington law and the laws of

either Louisiana or Texas. Seizer v. Sessions, 940 P.2d 262, 264 (Wash. 1997). An actual

conflict exists when “the result of the issues is different under the law of the two states.” Id. If

there is not an actual conflict, then the court must apply Washington law and forego a choice-of-

law analysis. Id.

        All three states recognize an attorney-client privilege and some form of implied waiver of

the attorney-client privilege where the plaintiff puts the subject-matter of those communications

at issue. 12 Accordingly, the court finds no discernable difference in the laws of Washington,

Louisiana, and Texas with regard to the application of the attorney-client privilege and implied

waiver in light of the facts of this case. Having found no actual conflict between Washington

law and the laws of either Louisiana or Texas, there is no need to engage in a choice-of-law

analysis—Washington’s law on attorney-client privilege governs. 13


12
   See Pappas v. Holloway, 787 P.2d 30, 36 (Wash. 1990) (under Washington law, a party impliedly
waives the attorney-client privilege when (1) its assertion of the privilege was the result of some
affirmative act, such as filing suit, by the asserting party; (2) through this affirmative act, the asserting
party put the protected information at issue by making it relevant to the case; and (3) application of the
privilege would have denied the opposing party access to information vital to his defense) (citing Hearn
v. Rhay, 68 F.R.D. 574, 581 (E.D. Wash. 1975); Conoco, Inc. v. Boh Brothers Construction Co., 191
F.R.D. 107 (W.D. La. 1998) (under Louisiana law, the attorney-client privilege may be waived by placing
the privileged communication “at issue,” which occurs when the “waiving party pleads a claim or defense
in such a way that he will be forced inevitably to draw upon a privileged communication at trial in order
to prevail.”) (citation and internal quotation marks omitted); Alford v. Bryant, 137 S.W.3d 916 (Tex.
App. 2004) (under Texas law, a party waives attorney-client privilege under “offensive use” doctrine
where (1) the party asserting the privilege is seeking affirmative relief; (2) the privileged information
sought is such that, if believed by the fact finder, in all probability it would be outcome determinative of
the cause of action asserted; and (3) disclosure of the confidential information is the only means by which
the aggrieved party may obtain the evidence).
13
   There is arguably an actual conflict between Washington and Louisiana law because Louisiana courts
have refused to follow the implied waiver test as announced in Hearn and followed by Washington
courts. See Smith v. Kavanaugh, Pierson & Talley, 513 So.2d 1138 (La. 1987). Even if the court found
an actual conflict and conducted a choice-of-law analysis, however, it would still conclude that
Washington law applies to the communications at issue. Although there is little jurisprudence in
Washington regarding the governing choice-of-law rules on privileges, at least one Washington court has
applied Restatement (Second) of Conflict of Laws § 139 to determine the governing law on privileges.
See State v. Donahue, 18 P.3d 608, 611 (Wash. Ct. App. 2001) (applying Section 139 in determining that
                                                     14
        Case 3:12-cv-00257-JJB-RLB               Document 283         05/05/14 Page 15 of 22



                2.       Application of Washington Law of Attorney-Client Privilege

        The attorney-client privilege has been codified in Washington: “[a]n attorney or

counselor shall not, without the consent of his or her client, be examined as to any

communication made by the client to him or her, or his or her advice given thereon in the course

of professional employment.” RCW 5.60.060(2).

        Washington law recognizes an “implied waiver” of the attorney client privilege where

three conditions are met:

        (1) assertion of the privilege was the result of some affirmative act, such as filing suit, by
        the asserting party;

        (2) through this affirmative act, the asserting party put the protected information at issue
        by making it relevant to the case; and

        (3) application of the privilege would have denied the opposing party access to
        information vital to his defense.

Pappas v. Holloway, 787 P.2d 30, 34 (Wash. 1990) (citing Hearn v. Rhay, 68 F.R.D. 574, 581

(E.D. Wash. 1975)). In Pappas, the plaintiff sued his client to recover fees for his legal services

in defending another action. The defendant counterclaimed with a malpractice claim and the

plaintiff brought third-party demands against all other attorneys who had represented the



Oregon’s physician-patient privilege applied); see also State v. Mayes, 579 P.2d 999, 1005 n. 7 (Wash.
Ct. App. 1978) (noting that it would apply Section 139 if faced with a choice-of-law issue). Under
Section 139, the court generally applies the “local law of the state which has the most significant relations
with the communication.” Assuming that Louisiana is the “state which has the most significant relations”
with at least some of the communications, and further assuming that Louisiana law would find those
communications privileged, Section 139 would still allow admission of the communications under
Washington law, “unless there is some special reason why the forum policy favoring admission should
not be given effect.” The court finds no special reason why it should not give effect to Washington’s
policy favoring admission. Indeed, in the context of determining a policyholder’s rights to obtain
otherwise privileged documents from its insurer, the Washington Supreme Court has created a
presumption that there is no attorney-client privilege between the insured and insurer in the claims
adjusting process where the insured raises a first-party bad faith claim. See Cedell v. Farmers Ins. Co. of
Washington, 295 P.3d 239 (Wash. 2013). It is clear that the Washington courts are not inclined to divorce
the issues of substantive bad faith and attorney-client privilege in the bad faith context. Accordingly, the
court should give effect to Washington’s policy favoring admission of documents in insurance bad faith
disputes.
                                                     15
       Case 3:12-cv-00257-JJB-RLB            Document 283         05/05/14 Page 16 of 22



defendant in the underlying lawsuit. Those third-party defendants refused to produce documents

to the plaintiff based on the attorney-client privilege. The Washington Supreme Court held that

an “implied waiver” of the privilege occurred when the defendant brought his legal malpractice

counter-claim against the plaintiff. The court further held that the plaintiff was entitled to obtain

otherwise privileged documents from the third-party defendants because denying the production

would prevent the plaintiff from effectively defending himself.

       The Western District of Washington has applied the test recognized in Pappas in the

context of insurance litigation. See Bank of America v. Travelers Indem. Co., No. C07-0322,

2009 WL 2578966 (W.D. Wash. Aug. 18, 2009). In that action, Bank of America was the trustee

of real property that contaminated adjacent land. After the adjacent landowner sued Bank of

America and other defendants, Bank of America retained defense counsel that had previously

represented Bank of America’s co-defendants without notifying Travelers, its insurer. Bank of

America signed a waiver of conflicts acknowledging that the defense counsel could not sue the

co-defendants it represents in other matters. After settling with the adjacent landowner, Bank of

America tendered its claim to Travelers demanding reimbursement of the settlement amount and

defense fees. Travelers filed a cross-claim seeking declaratory relief for Bank of America’s

alleged breach of the notice provision in the insurance policy. Travelers claimed it would have

hired different defense counsel that could have asserted cross-claims against Bank of America’s

co-defendants, which would have resulted in a lower settlement amount and defense fees. The

court applied the factors discussed in Pappas, concluding that Bank of America impliedly

waived its attorney-client privilege with defense counsel because Travelers needed to review

Bank of America’s counsel’s litigation strategy and determine whether certain defense or claims

were considered.



                                                 16
        Case 3:12-cv-00257-JJB-RLB           Document 283        05/05/14 Page 17 of 22



        The Washington Supreme Court’s holding in Pappas does not require a blanket waiver of

the attorney-client privilege in all bad faith litigation in which the insurer seeks documents from

its insured. The Pappas decision was premised on a finding that the insured breached its duty of

providing timely notice to its insurer. Discovery into privileged information was required to

determine whether that breach resulted in any harm to the insurer. Here, Zurich is seeking

privileged information from Shaw’s attorneys to demonstrate that it did not breach its duty to

defend in bad faith. Information “vital” to Zurich’s defense includes information related to the

alleged harm caused by Zurich’s acts and omissions and the measure of damages recoverable by

Shaw.

        Zurich has established the three prongs of the Pappas test with regard to information

relevant to the issue of Shaw’s alleged harm. Shaw has asserted the privilege as a result of its

filing a claim alleging that Zurich breached its duty to defend in bad faith and seeking damages

measured by its settlement in the underlying litigation. Pappas, 787 P.2d at 34. Shaw’s

affirmative act of seeking to recover those alleged damages from Zurich in this litigation “put the

protected information at issue by making it relevant to the case.” Id. Finally, the privileged

communications between Shaw and its attorneys would contain “information vital” to Zurich’s

ability to rebut any presumption of harm should it be found to have acted in bad faith.

        Zurich has not, however, established the third prong with regard to information relevant

to the issue of the reasonableness of Shaw’s settlement amount. If Zurich challenges the

reasonableness of the settlement amount between Shaw and REC, it can rely upon expert witness

testimony regarding the objective reasonableness of the settlement amount. Although the

subpoenaed law firms’ invoices, billing records, and timesheets are arguably vital to Zurich’s

ability to challenge the measure of defense costs it is liable for, the subpoenaed parties have



                                                 17
       Case 3:12-cv-00257-JJB-RLB            Document 283        05/05/14 Page 18 of 22



represented that those documents are already in the possession of Zurich. The court will require

production of the documents to the extent the subpoenaed law firms cannot confirm that they are

already in Zurich’s possession, whether through a production by Shaw or otherwise. Under

Pappas, Shaw has waived its privilege with regard to descriptions of its attorneys’ timesheets

and other billing records. See Aecon Bldgs., Inc. v. Zurich North America, No. C07-832, 2008

WL 2434205 (W.D. Wash. June 13, 2008) (policyholder waived privilege communications in

invoices where it submitted declarations related to the fees in its motion related to the

reasonableness of its settlement and by identifying one of its attorneys as a witness to testify on

the “nature, value and reasonableness of legal services rendered,” but noting that the court did

not find that the policyholder put any “substantive” attorney-client communications at issue by

seeking defense fees).

       C.      The Work Product Doctrine

       Shaw and the non-parties further argue that some of the information sought is protected

by the work product doctrine. The work product doctrine is a matter of federal procedural law in

diversity cases. See N. Am. Specialty Ins. Co. v. Iberville Coatings, Inc., No. 99-859, 2002 WL

34423316, at *3 (M.D. La. Mar. 22, 2002). The work product doctrine is codified in Rule

26(b)(3) of the Federal Rules of Civil Procedure. “Ordinarily, a party may not discover

documents and tangible things that are prepared in anticipation of litigation or for trial by or for

another party or its representative (including the other party’s attorney, consultant, surety,

indemnitor, insurer, or agent).” Fed. R. Civ. P. 26(b)(3)(A). The moving party may discover

relevant information, however, if the “party shows that it has substantial need for the materials to

prepare its case and cannot, without undue hardship, obtain their substantial equivalent by other

means.” Fed. R. Civ. P. 26(b)(3)(A)(ii). “The burden of establishing that a document is work



                                                 18
       Case 3:12-cv-00257-JJB-RLB            Document 283       05/05/14 Page 19 of 22



product is on the party who asserts the claim, but the burden of showing that the materials that

constitute work product should nonetheless be disclosed is on the party who seeks their

production.” Hodges, Grant & Kaufmann v. U .S. Government, Dept. of the Treasury, I.R.S., 768

F.2d 719, 721 (5th Cir. 1985).

       The court need not determine to what extent the information sought by Shaw is protected

work product because Zurich has shown a substantial need for relevant information in the

possession of Shaw’s former counsel that it cannot, without undue hardship, obtain their

substantial equivalent by other means than from the subpoenaed law firms. Shaw has

specifically alleged that Zurich’s actions (and inaction) have directly and adversely affected their

defense in the underlying litigation. Zurich is entitled to discovery how and to what extent the

defense of Shaw was so harmed. Zurich has a substantial need for documents in the possession

of the subpoenaed law firms to evaluate whether Shaw was harmed by its alleged bad faith acts

or omissions. Zurich does not have a substantial need for documents for the purpose of

demonstrating the reasonableness of the settlement between Shaw and REC, which Zurich may

challenge without resort to protected work product.

       D.      Additional Objections Regarding the Document Subpoenas

       The subpoenaed law firms also challenge the document subpoenas on the grounds that

they were not provided a reasonable time to respond, improper form, vagueness and overbreadth,

and undue burden. The first two objections are moot now that the court has taken the parties’

motions for consideration. The court has addressed the parties’ objections regarding vagueness

and overbreadth by defining the scope of relevant information. The subpoenaed parties’

arguments regarding undue burden are also resolved by the narrowed scope of documents the

court is requiring to be produced.



                                                19
       Case 3:12-cv-00257-JJB-RLB           Document 283       05/05/14 Page 20 of 22



       The non-party law firms also argue that several of the categories of documents sought by

Zurich are presumably already in Zurich’s possession or can be obtained directly from Shaw if

not privileged or protected. The court agrees. To the extent the subpoenaed law firms can

confirm that responsive documents are already in the possession of Zurich, they need not be

produced. Similarly, the court will not require the subpoenaed law firms to produce e-mail

communications for which Zurich (and its agents) are authors or recipients. The court will

presume those documents to be in Zurich’s possession and Zurich has not shown why these non-

parties should incur the time and expense to produce materials already in Zurich’s possession.

       E.      Scope of Required Productions and Deposition Testimony

       In accordance with the analysis above, the court will compel the production by the non-

party law firms, and the depositions of non-party attorneys, to a limited extent. The following

categories of information shall define the scope of the required productions or deposition

testimony:

       (1) Zurich’s alleged failure to pay for Shaw’s defense in a timely manner and any
       resulting harm to Shaw, including complaints or threats to withdraw by counsel as
       a result of Zurich’s alleged late payments;

       (2) Zurich’s alleged failure in exercising reasonable care in controlling Shaw’s
       defense, including Zurich’s alleged requirement that Shaw’s counsel treat it as a
       “partner”; and

       (3) Zurich’s alleged failure to conduct good faith settlement negotiations
       sufficient to ascertain the most favorable terms available to Shaw and any
       resulting harm to Shaw, including Shaw’s alleged loss of an opportunity to settle
       the underlying lawsuit for a sum less than $10 million between the period of the
       fall of 2009 through late spring of 2011.

To the extent that Zurich has requested documents or deposition testimony outside of the

foregoing scope of information, the court will quash the subpoenas.




                                                20
       Case 3:12-cv-00257-JJB-RLB           Document 283       05/05/14 Page 21 of 22



III.   Conclusion

       For the foregoing reasons, the non-party law firms Baker, Donelson, Bearman, Caldwell;

Griffith, Davidson & Shurtleff, P.C.; and Oles, Morrison, Rinker & Baker, LLP shall comply

with the respective subpoenas issued to them as detailed in this Ruling. The production of these

documents must occur no later than June 4, 2014. The parties are to confer with one another and

with Jason Cagle, Anthony Jach, Daniel Terrell, Danny Shaw, and Robert Brown to select

mutually agreeable dates for these depositions. The applicable discovery deadlines are extended

until June 30, 2014 for the purpose of conducting these depositions.

       IT IS ORDERED that Zurich’s Motion to Compel Production Requested in Subpoena

Duces Tecum issued to Baker, Donelson, Bearman, Caldwell (R. Doc. 242) is GRANTED in

part and DENIED in part.

       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoena Duces Tecum

issued to Baker, Donelson, Bearman, Caldwell (R. Doc. 247) is GRANTED in part and

DENIED in part.

       IT IS FURTHER ORDERED that Zurich’s Motion to Compel Production Requested in

Subpoena Duces Tecum issued to Griffith, Davidson & Shurtleff, P.C. (R. Doc. 256) is

GRANTED in part and DENIED in part.

       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoena Duces Tecum

issued to Griffith, Davidson & Shurtleff, P.C. (R. Doc. 265) is GRANTED in part and

DENIED in part.

       IT IS FURTHER ORDERED that Zurich’s Motion to Compel Production Requested in

Subpoena Duces Tecum issued to Oles, Morrison, Rinker & Baker, LLP (R. Doc. 262) is

GRANTED in part and DENIED in part.



                                               21
       Case 3:12-cv-00257-JJB-RLB          Document 283       05/05/14 Page 22 of 22



       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoena Duces Tecum

issued to Oles, Morrison, Rinker & Baker, LLP (R. Doc. 266) is GRANTED in part and

DENIED in part.

       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoenas for the

Depositions of Jason L. Cagle, Anthony P. Jach, and Daniel S. Terrell (R. Doc. 249) is

GRANTED in part and DENIED in part.

       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoenas for the

Deposition of Danny Shaw (R. Doc. 250) is GRANTED in part and DENIED in part.

       IT IS FURTHER ORDERED that Shaw’s Motion to Quash Subpoenas for the

Deposition of Robert P. Brown (R. Doc. 251) is GRANTED in part and DENIED in part.

       Signed in Baton Rouge, Louisiana, on May 5, 2014.



                                            S
                                            RICHARD L. BOURGEOIS, JR.
                                            UNITED STATES MAGISTRATE JUDGE




                                               22
